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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DESTINY L. DRAKE,                        )
                                         )
      Plaintiff,                         )
                                         )       CIVIL ACTION
v.                                       )
                                         )       FILE No. 1:19-cv-05819-SDG
DOLGENCORP, LLC,                         )
                                         )
      Defendants.                        )

             STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiff Destiny L. Drake and Defendant Dolgencorp, LLC, by and through the

undersigned counsel of record, hereby stipulate and agree that the instant matter be

dismissed with prejudice, without an award of fees or costs to either party. As all

Defendants to this case have now been dismissed with prejudice, Plaintiff

respectfully requests that the Clerk be directed to close this matter in its entirety.

                                         Dated: September 11, 2020.

                                         Respectfully submitted,

                                         /s/Craig J. Ehrlich
                                         Craig J. Ehrlich
                                         Attorney for Plaintiff
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                         CERTIFICATE OF SERVICE

      I certify that on September 11, 2020, I filed the within and foregoing

Stipulation of Dismissal with Prejudice using the CM/ECF System for the federal

District Court for the Northern District of Georgia, resulting in a true and correct

copy of the same to be delivered via electronic mail to the following counsel of

record:

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                                     /s/Craig J. Ehrlich
                                     Craig J. Ehrlich

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.

                                     /s/Craig J. Ehrlich
                                     Craig J. Ehrlich




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